                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re
                                                    Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                       Chapter 11
                                                     Hon. Lisa S. Gretchko
        Debtors.                                     Jointly Administered


                  COVER SHEET FOR TRANSMITTAL OF
                 SMALL BUSINESS OPERATIONG REPORT

                      GRACEWAY SOUTH HAVEN, LLC
                         (CASE NO. 21-44888-lsg)

              FOR THE PERIOD ENDING SEPTEMBER 30, 2021




1 The debtors in these jointly administered proceedings along with the last four digits
of their respective federal tax id numbers are Silverside Senior Living, LLC (2357)
[Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case No.21-
44888-lsg].

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  Fill in this information to identify the case:
   Debtor name                      Graceway South Haven, LLC

  United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

  Case number: 21-44888
                                                                                                                         D Check if this is an
                                                                                                                            amended filing

 Official Form 425C
 Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

  Month:                              September 2021                                            Date report filed:      08/04/2021
                                                                                                                        MM/DD/YYYY
  Line of business:                  Skilled Nursing Facility                                   NAISC code:                623110

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

  Responsible party:                                                  Anthony Fischer, Jr.

  Original signature of responsible party                         /s/s Anthony Fischer, Jr.

  Printed name of responsible party                                   Anthony Fischer, Jr.

                 1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                                Yes No N/A
     If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

 1. Did the business operate during the entire reporting period?                                                                D      i D
 2. Do you plan to continue to operate the business next month?                                                                 D      i a
 3. hlave you paid all of your bills on time?                                                                                   D      D i
 4. Did you pay your employees on time?                                                                                         D
 5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                             D      D i
 6. Have you timely filed your tax returns and paid all of your taxes?                                                          D      D i
 7. Have you timely filed all other required government filings?                                                                D      D i
 8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                             a
 9. Have you timely paid all of your insurance premiums?                                                                        D
  If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

 10.      Do you have any bank accounts open other than the DIP accounts?                                                       D 3D
 11.      Have you sold any assets other than inventory?                                                                        D @D
 12.      Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? D
 13.      Did any insurance company cancel your policy? D                                                                             B     D
 14.      Did you have any unusual or significant unanticipated expenses? D                                                           BD
 15.      Have you borrowed money from anyone or has anyone made any payments on your behalf? D                                       @ a
 16.      Has anyone made an investment in your business? D                                                                           i a
 17.      hlave you paid any bills you owed before you filed bankruptcy? D                                                            B a
 18.      Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? D                               @ D
                2. Summary of Cash Activity for All Accounts

 19. Total opening balance of all accounts                                                                                   $ 52,179.64
      This amount must equal what you reported as the cash on hand at the end of the month in the previous
       month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

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                                                                                                                              Best16
                                                                                                                                   Case Bankruptcy
 Debtor              Graceway South Haven, LLC                                            Case number 21-44888
 Name

          Attach a listing of all cash received for the month and label it Exhibit C. Include all cash received even if you
          have not deposited it at the bank, collections on receivables, credit card deposits, cash received from other
          parties, or loans, gifts, or payments made by other parties on your behalf. Do not attach bank statements in
          lieu of Exhibit C.

          Report the total from Exhibit C here.                                                 $.   0.00


 21. Total cash disbursements
          Attach a listing of all payments you made in the month and label it Exhibit D. List the date paid, payee,
          purpose, and amount. Include all cash payments, debit card transactions, checks issued even if they have not
          cleared the bank, outstandingchecks issued before the bankruptcy was filed that were allowed to clear this
          month, and payments made by other parties on your behalf. Do not attach bank statements in lieu of Exhibit
          D.

          Report the total from Exhibit D here.                                               .$ 7,581.72

 22.      Net case flow                                                                                                       +$ (7,581.72)
          Subtract line 21 from line 20 and report the result here.
          This amount may be different from what you may have calculated as net profit.

 23.      Cash on hand at the end of the month

          Add line 22 + line 19. Report the result here.                                                                       $ 44,597.92

          Report this figure as the cash on hand at the beginning of the month on your next operating report.
          This amount may not match your bank account balance because you may have outstanding checks that have
          not cleared the bank or deposits in transit.

                3. Unpaid Bills

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
          have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the purpose
          of the debt, and when the debt is due. Report the total from Exhibit E here.
24.       Total payables                                                                                                       $ 0.00
              (Exhibit E)

                4. Money Owed to You

          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
          have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
          Identify who owes you money, how much is owed, and when payment is due. Report the total from Exhibit F
          here.

25.       Total receivables                                                                                                    S ©250,000.00


               5. Employees

 26. What was the number of employees when the case was filed?                                                                 $ 0


27. What is the number of employees as of the date of this monthly report?                                                     $. 0

               6. Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case?                                    $ 0.00


Official Form 425C Monthly Operating Report for Small Business Under Chapter 11                                                              page 2
                                                                                                                                    Best Case Bankruptcy
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 Debtor          Graceway South Haven, LLC                                                Case number 21-44888
 Name

 29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ 0.00
 30. How much have you paid this month in other professional fees? $                                                     0.00

 31. How much have you paid in total other professional fees since filing the case? $                                    0.00

             7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month. Projected
        figures in the first month should match those provided at the initial debtor interview, if any.


                                      Column A                         Column B                   Column C
                                      Projected                        Actual                  == Difference


                                      Copy lines 35-37 from the        Copy lines 20-22 of        Subtract Column B
                                      previous month's report.         this report.               from Column A.

 32. Cash receipts                   $                                 $                          $

 33. Cash disbursements              $                                 s                          $

 34. Net cash flow                    $                                 $                         $


 35. Total projected cash receipts for the next month:                                                                $ 0.00

 36. Total projected cash disbursements for the next month:                                                       - $ 0.00

 37. Total projected net cash flow for the next month:                                                            =: $ 0.00

            8. Additional Information

  If available, check the box to the left and attach copies of the following documents.

@ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

[_] 39. Bank reconciliation reports for each account.

Q 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

Q 41. Budget, projection, or forecast reports.
Q 42. Project, job costing, or work-in-progress reports.




Official Form 425C Monthly Operating Report for Small Business Under Chapter 11                                   page 3
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                                                -www.bestcase.com                                           16Case Bankruptcy
                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                Chapter 11
                                                              Hon. Lisa S. Gretchko
         Debtors.                                             Jointly Administered




                                            EXHIBIT A

                   GRACEWAY SOUTH HAVEN, LLC
          SMALL BUSINESS MONTHLY OPERATING REPORT FOR
               THE PERIOD ENDING SEPTEMBER 30, 2021



All of the Debtor's residents were moved to alternative facilities on May 27, 2021.
The Debtor has not maintained any operations since that date.




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(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,}                                                Chapter 11
                                                              Hon. Lisa S. Gretchko
        Debtors.                                             Jointly Administered


                                             EXHIBIT B


                    GRACEWAY SOUTH HAVEN, LLC
             SMALL BUSINESS MONTHLY OPERATING REPORT
              FOR THE PERIOD ERNDING SEPTEMBER 30,2021




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                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

 In re
                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                Chapter 11
                                                              Hon. Lisa S. Gretchko
         Debtors.                                            Jointly Administered



                                            EXHIBIT C

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                    CASH RECEIPTS FOR THE PERIOD
                               ENDING SEPTEMBER 30, 2021



        None




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                        EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re
                                                             Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                                Chapter 11
                                                             Hon. Lisa S. Gretchko
        Debtors.                                             Jointly Administered




                                            EXHIBIT D

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
                       FOR THE ENDING SEPTEMBER 30, 2021




Record Retention Payment:                                          $6,962.00
Bank fee (wire):                                                     $25.00
Expense Reimbursement:                                              $594.72
Total:                                                             $7,581.72




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                          EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

In re
                                                               Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,'                                                  Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                              Jointly Administered



                                              EXHIBIT E

                      GRACEWAY SOUTH HAVEN, LLC
               SMALL BUSINESS MONTHLY OPERATING REPORT
                FOR THE PERIOD ENDING SEPTEMBER 30,2021

                                       ACCOUNTS PAYABLE


None.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsgj.

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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

 In re
                                                              Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,!                                                 Chapter 11
                                                              Hon. Lisa S. Gretchko
         Debtors.                                             Jointly Administered



                                             EXHIBIT F

                     GRACEWAY SOUTH HAVEN, LLC
              SMALL BUSINESS MONTHLY OPERATING REPORT
              EXPENSES FOR THE PERIOD SEPTEMBER 30,2021




The Debtor is working to generate an updated accounts receivable report.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

In re
                                                               Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                                  Chapter 11
                                                               Hon. Lisa S. Gretchko
         Debtors.                                              Jointly Administered



                                              EXHIBIT G

              SMALL BUSINESS MONTHLY OPERATING REPORT
                    BANK RECORDS FOR THE PERIOD
                      ENDING SEPTEMBER 30, 2021



See Attached Bank Statements.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
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                                               150 Third Avenue South

            Pinnacle                           Suite 900
                                               Nashville, TN 37201
                                               www.pnfp.com
                                                                                                   Client Service Center 800-264-3613
                                                                                                   Pinnacle Anytime 866-755-5428

            RETURN SERVICE REQUESTED                                                               Account
                                                                                                   XXXXXXXX1306




                                            Graceway South Haven LLC
                                            Debtor in Possession
                                            13228 Chestnut St
                                            Southgate, Ml 48195-1257




          Statement of Account                                                                                             Horizon 150



                  Balance 9/01/21                          Summary

                  $52,179.64                                                                                     '*>^
                                                                                                        ^


                                                           Credits      +$.00
                  Balance 9/30/21                          Interest     +$.00
                  $ 44,597.92                             Debits        -$7,581.72


                                                                                            New Mobile App Combines
                                                                                            Personal and Business
           Debit Transactions

           Other Debits                                                                     Pinnacle's new mobile banking combines our
           9/28 Wire Transfer Debit                                             6,962.00    personal and business apps into one that
                                                                                            looks (and works) more like the full online
           9/28 Wire Transfer Fee                                                           banking experience. You can:
           Checks
                                                                                              • Easily manage and edit transfers
           9/20 Check 1521                                                       594.72          ^4ake principal and interest loan
                                                                                                 payments
           Total Debits                                                        $7,581.72         See your passcode as you enter it
                                                                                              • Add and edit transaction descriptions
          (*) Indicates gap in check number sequenece
                                                                                            You can learn more and download the app at
                                                                                     .00%   PNFP.com/mobile
         Average Balance This             $51,262.87 Annual Percentage Yield
         Statement                                      Earned
         Interest Earned This Period             $.00 Days in Period                  30
         Interest Paid Year to Date              $.00 Interest Paid                  $.00




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                 FDJC                                                                                                                 Page 1 of 5


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                                           Pinnacle

 ELECTRONIC TRANSFER ERROR RESOLUTION

 This Electronic Transfer Error Resolution only applies to accounts held for personal, family or household purposes
 and is therefore not applicable to business, trust accounts, or any such account held for non-personal purposes.

 In case of errors or questions about your electronic transfers, call or write us at the telephone number or address
 listed at the end of this disclosure, as soon as you can, if you think your statement or receipt is wronger if you
 need more information about a transfer listed on the statement or receipt.

          Tell us your name and account number (if any).

          Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
          it is an error or why you need more information.

          Tell us the dollar amount of the suspected error.

 We must hear from you no later than 60 days after we send the FIRST statement on which the problem or error
 appeared.

 We will provide provisional credit for the amount that you think is in error within 10 business days of your
 complaint and begin an investigation of the transaction(s). In most cases, we will disclose the results of the
investigation within 10 business days of your complaint and correct any error promptly. If we need more time to
investigate the complaint, we may take up to 45 days (90 days if the transfer involved a point-of-sale transaction or
a foreign initiated transfer) to complete our investigation. However, you will have use of the funds in question
 during our investigation.

                                                  Pinnacle Bank
                                          150 3rd Avenue South, Suite 900
                                                Nashville, TN 37201
                                                 (800) 264-3613




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 Account Number: XXXXXXXX1306


 DAILY BALANCE INFORMATION                   iw-i^
 9/01 52,179.64 9/20                                   51,584.92 9/28              44,597.92




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Account Number: XXXXXXXX1306                                                                          Date               9/30/21
                                                                                                      Primary Acct No.   XXXXXXXX1306

                                                                                   1521
                          GRACEWAY SOUTH HAVEN LLC

                                SOuTUCM^<K14*lUS                    "i/ft/.UlAl
           sssy A^^i^i % 'w$.^,.-^,.                                        S-'7<t.'7-1. ;
             ^•^r ^^^r^t\ , <,^,,-t\., - djjr^ ^^t'r> ^ ">x/1.^/^        DOLLARS


          FOR.
                    Pinnacle^..'rfir ^c.mi),,.i,^       ^—.
                   n'OOOOlSili- i:OE,l<DDB637i; r'BOO ID? 3 S I 30&"'




        #1521                  09/20/2021                           $594.72




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